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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION

 KATRINA WOODALL, et al.,

           Plaintiffs,                            Case No. 17-13707
                                                  Honorable Laurie J. Michelson
 v.                                               Magistrate Judge Elizabeth A. Stafford

 WAYNE COUNTY, et al.

           Defendants.


                         AMENDED TRIAL SCHEDULING ORDER


        Following rulings by this Court on dispositive motions and unsuccessful

settlement conferences, this case is ready for trial. The Court enters the following

amended schedule to manage the remaining pretrial and trial phases of the case:


                    EVENT1                                      DEADLINE
 Motions in Limine                              January 30, 2023
 Responses to Motions in Limine                 February 6, 2023
 Joint Proposed Final Pretrial Order February 13, 2023
 (and pretrial submissions) (See § 11)
 [final pretrial order, joint jury
 instructions and verdict form, proposed
 voir dire, joint one-paragraph summary
 of the case]
 Final Pretrial Conference                      February 24, 2023 at 10 a.m.
 Jury Trial                                     March 1, 2023 at 8:30 a.m.
 Estimated Length of Trial                      2 weeks (8:30 a.m. to 1:30 p.m.)



       1 For any events not listed on the Scheduling Order, please refer to Federal Rule of Civil
Procedure 26.
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      The parties are directed to this Court’s Case Management Requirements, and,

in particular the pre-trial and trial requirements, found at ECF No. 132.


      SO ORDERED.

      Dated: November 18, 2022


                                       s/Laurie J. Michelson
                                       LAURIE J. MICHELSON
                                       UNITED STATES DISTRICT JUDGE




                                         2
